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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               (TAMPA DIVISION)

ELLA DUNBAR, on behalf of herself
and all others similarly situated,

            Plaintiff,
vs .                                       CASE NO. 8:19-cv-000715-CEH-TGW

SYMMETRY MANAGEMENT CORP. d/b/a
BCC FINANCIAL MANAGEMENT
SERVICES, INC.

          Defendants.
__________________________________/

          NOTICE OF SCHEDULING MEDIATION CONFERENCE

PLEASE TAKE NOTICE that in accordance with this Court’s ENDORSED ORDER
(Doc. 25) granting Defendant’s Unopposed Motion for Extension of Time to
Conduct Mediation Conference and to Reschedule Mediation Conference, dated
January 8, 2020, mediation has been rescheduled in the above-referenced
matter as follows:

Mediation is scheduled to commence on Wednesday, February 26, 2020, at
9:00 a.m. at the office of Michael Musetta & Associates, 201 N. Franklin St.,
Tampa, FL 33602.

Respectfully submitted this 14th day of January 2020, by:



                                       /s/ Bennett C. Lofaro
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                                          Tel: (813) 223-6021
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                                          Attorney for Defendant


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 14, 2020, I electronically filed
the foregoing document with the Clerk of the Court using CM/ECF. I ALSO
CERTIFY that the foregoing documents are being served this day on all
counsel of record identified on the below Service List in the manner
specified, either via transmission of Notice of Electronic Filing generated by
CM/ECF or in some other authorized manner for those counsel or parties
who are not authorized to receive electronically Notices of Electronic Filing.


                                          /s/ Bennett C. Lofaro, Esq.
                                           Bennett C. Lofaro, Esq.

                                       SERVICE LIST


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Mediator
